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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION

SECURITIES AND EXCHANGE                       No: 3:18-cv-252
COMMISSION,
                                              Carlton W. Reeves, District Judge
           Plaintiffs,                        F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

           Defendants.




                         RECEIVER’S FEE APPLICATION
      for the time period beginning February 1, 2021 and ending March 31, 2021

                                   April 30, 2021




                                              /s/ Alysson Mills
                                      Alysson Mills, Miss. Bar No. 102861
                                      650 Poydras Street Suite 1525
                                      New Orleans, Louisiana 70130
                                      Telephone: 504-586-5253
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                                      amills@millsamond.com
                                      Receiver for Arthur Lamar Adams and
                                      Madison Timber Properties, LLC
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Introduction

           For many years Arthur Lamar Adams, through his companies Madison Timber Company,
LLC and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
31, 2018, he was sentenced to 19.5 years in prison.

           On June 22, 2018, the Court appointed me receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties and provides that I shall
receive reasonable compensation and reimbursement from the Receivership Estate.1 The Court has
instructed me to file a fee application “[w]ithin 30 days after the end of every 60-day period while
the Receivership is in effect.”2

           This is my fee application for the approximately 60-day period beginning February 1, 2021
and ending March 31, 2021. It contains the following parts:

                                                                                  page
                            Receivership fee applications, generally                3
                            Pre-established billing parameters                      4
                            Receivership Estate’s fees and expenses                 5
                            Conclusion                                              8
                            Receiver’s declaration                                  9


           The Securities and Exchange Commission has received and reviewed this fee application.
It has no objections.




1
    Doc. 33, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
2
    Doc. 43 at p. 2, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).


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Receivership fee applications, generally

         A receiver’s duties “are unique to the facts and circumstances of each case.”3 It follows
that a receiver’s fees and expenses vary with the facts and circumstances of each case. The
appointing court has broad discretion to determine the reasonableness of a receiver’s fees and
expenses.4

         As before, in the course of preparing this fee application, I reviewed fee applications
submitted by receivers in other Ponzi scheme cases, including Securities and Exchange
Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D. Tex.) (“Stanford”);
U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D. Minn.)
(“Cook/Kiley”); and Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-
46 (D. Utah) (“Clark”).

         Fee applications vary in format but provide the same basic content: a summary of work to-
date, a statement of hours expended by professionals, a calculation of professional fees based on
applicable hourly rates, a statement of expenses incurred in the ordinary course of business, and a
declaration that all fees and expenses are accurate and reasonable. I provide the same basic content
here.

         Although fee applications are filed in the court’s public record, the underlying records of
each professional’s time typically are not. This is because such records necessarily include
confidential information (such as victims’ names) and information subject to attorney-client or
other privileges. To publish such information in the court’s public record also would risk disclosing
the receiver’s legal strategies to defendants. For these reasons, I provide underlying records of
each professional’s time only to the Court.

         This fee application is for the approximately 60-day period beginning February 1, 2021
and ending March 31, 2021. As before, I offer the following context:




3
 7 Bus. & Com. Litig. Fed. Cts. § 79:48 (4th ed.).
4
 “It is well settled that such allowances are largely within the discretion of the district court . . . .” Commodity Credit
Corp. v. Bell, 107 F.2d 1001, 1001 (5th Cir. 1939).


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          The Stanford receiver’s seventeenth fee application, filed in 2012, asked for a total of
$1,738,978.20 in fees for two months’ work.5 That fee application was granted with a 10%
holdback for certain expenses. Of course, at $7.2 billion, the Stanford Ponzi scheme was
considerably bigger than the Ponzi scheme in this case.

          The Cook/Kiley Ponzi scheme, at $190 million, is closer in size. The Cook/Kiley receiver’s
twenty-ninth monthly fee application, for July and August 2012, asked for $144,011.46 in fees for
two months’ work. That fee application was paid in full.6

          The Clark Ponzi scheme, at $47 million, was considerably smaller than the Ponzi scheme
in this case. The Clark receiver’s seventeenth fee application, filed in 2015, asked for a total of
$51,272 in fees for three months’ work. That fee application was paid in full.7


Pre-established billing parameters

          The Court’s order of appointment provides that I shall bill at $275 an hour, and that my
counsel shall bill at rates not to exceed $275 an hour, with the exception of Brent Barriere, who
shall bill at $325 an hour.8

          The Court’s order of appointment authorizes me to incur expenses and make payments as
in the ordinary course of business of the Receivership Estate9 and, separately, to employ persons
to assist me in carrying out my duties as Receiver.10

          Any compensation or reimbursement “will be interim and will be subject to cost-benefit
and final reviews at the close of the receivership.”11 Any fee application may, in the Court’s
discretion, be subject to a holdback in the amount of 25%.12


5
 Doc. 1634, Securities & Exchange Commission v. Stanford International Bank, Ltd., et al., No. 3:09-cv-0298
(N.D. Tex.).
6
    Doc. 968, U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D. Minn.).
7
  Doc. 730, Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-46 (D. Utah).
8
  Doc. 33 at p. 4, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
9
  Doc. 33 at p. 7–8, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
10
   Doc. 33 at p. 8, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
11
   Doc. 33 at p. 14, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
12
   Doc. 33 at p. 14–15, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).


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Receivership Estate’s fees and expenses

           Fees

           The Receivership Estate’s fees, including Receiver’s fees and Receiver’s counsel’s fees,
for the approximately 60-day period beginning February 1, 2021 and ending March 31, 2021are:

                                                              Rate       Hours                 Total
         Receiver’s fees
         Alysson Mills                                       $275        24.38            $6,704.50

         Receiver’s counsel’s fees
         Brent Barriere                                      $325         40.7          $13,227.50
         Lilli Bass                                          $275         21.3           $5,857.50
         Kristen Amond                                       $220        29.11           $6,404.20
         Fishman Haygood, other attorney                     $275          8.7           $2,392.50
         Fishman Haygood, other attorney                     $220            .8            $176.00
         Paralegal                                           $150          1.1             $165.00
                                                                                        $34,927.20


           These fees are for work described in my Receiver’s Reports filed on February 26, 2021
and April 27, 2021.13 In addition to litigating the lawsuits styled Alysson Mills v. Butler Snow, et
al., No. 3:18-cv-866; Alysson Mills v. BankPlus, et al., No. 3:19-cv-196; Alysson Mills v. The UPS
Store, Inc., et al., No. 3:19-cv-364; and Alysson Mills v. Trustmark, et al., No. 3:19-cv-941 (see
“Contingency fee cases—hours not billed,” below), my colleagues and I continued to administer
business of the Receivership Estate. During the approximately 60-day period beginning February
1, 2021 and ending March 31, 2021, my colleagues and I: continued to fight the bankruptcy
discharge of Bill McHenry’s $3,473,320 debt to the Receivership Estate, including by responding
to various filings and by re-urging a motion for summary judgment, which later was granted;
finalized settlement with Randy Shell and Shell Investments, LLC in the lawsuit styled Alysson
Mills vs. Stuart Anderson, et al., No. 3:20-cv-427; continued to monitor recruiter defendants’
compliance with settlement agreements; continued to account for “commissions” and gifts paid by


13
     Docs. 219 and 251, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).


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Adams, Madison Timber, or Wayne Kelly to individuals in exchange for their assistance in
recruiting new investors to the Madison Timber Ponzi scheme; dissolved Oxford Springs, LLC;
negotiated the sale of the last 100 acres of undeveloped land in Lafayette County, Mississippi,
formerly owned by Oxford Springs, LLC, for $540,000; moved the Court to approve the sale of
the last 100 acres for $540,000 pursuant to 28 U.S.C. § 2001(b) and free and clear of liens,
encumbrances, and related obligations or claims; continued to review records of banks, law firms,
and other third parties that had professional relationships with Adams or Madison Timber;
continued to confer with federal and state authorities; continued to communicate with investors in
Madison Timber via phone, letter, email, and in-person meetings; continued to interview
individuals with first-hand knowledge of matters bearing on the Receivership Estate; continued to
meet with counsel for third parties that had professional relationships with Adams or Madison
Timber; and continued to research legal claims against third parties as new facts are discovered.
Time records for the approximately 60-day period beginning February 1, 2021 and ending March
31, 2021 shall be separately provided to the Court for in camera review.

       Of the hours recorded above, 33.7 hours, or $8,212.00, were spent on the lawsuits Alysson
Mills v. Michael D. Billings, et al., No. 3:18-cv-679, and Alysson Mills vs. Stuart Anderson, et al.,
No. 3:20-cv-427. In the Billings case we already obtained settlements from Wayne Kelly and
Mike Billings worth approximately $2,000,000 and $800,000, respectively, and obtained a
judgment against Bill McHenry for $3,473,320. The hours recently recorded reflect time spent
fighting McHenry’s bankruptcy discharge; those efforts recently resulted in a favorable summary
judgment. In the Anderson case we already obtained a settlement from Stu Anderson for the return
of the $130,520 in “commissions” he received in exchange for his sales of Madison Timber
investments; the hours recently recorded reflect time spent negotiating a settlement with Randy
Shell for the return of the $505,114 in “commissions” he received. We litigate these cases on an
hourly fee basis because they are not time- or cost-intensive, therefore we believe a contingency
fee would be unfair to the Receivership Estate.

       My colleagues and I are sensitive to the Receivership Estate’s limited resources and we
hope our fees reflect that. We have not charged for work that we believe was duplicative. We have
not charged for travel. Our agreed-upon rates generally are lower than market rates.




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          Expenses

          The Receivership Estate’s expenses for the approximately 60-day period beginning
February 1, 2021 and ending March 31, 2021 are:

               Printer and copier charges                                         $41.60
               Express mail                                                       $66.33
               Postage                                                           $141.90
               PACER fees                                                          $8.90
               Oxford Springs—Delaware franchise taxes                        $1,175.00
               Oxford Springs—three appraisals                                $5,400.00
                                                                              $6,833.73
          These expenses are self-explanatory and are the kinds of expenses typically incurred in any
legal matter. As always, I have not charged for long distance calls or travel.


          Contingency fee cases—hours not billed

          In addition to the hours reported above, my counsel and I have recorded a total of 2,508.95
hours on the lawsuits Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866; Alysson Mills v.
BankPlus, et al., No. 3:19-cv-196 (S.D. Miss.); Alysson Mills v. The UPS Store, Inc., et al., No.
3:19-cv-364 (S.D. Miss.); and Alysson Mills v. Trustmark, et al., No. 3:19-cv-941 (S.D. Miss.). I
have not billed the Receivership Estate for this time. I believe billing the Receivership Estate for
the time spent on these and possibly other lawsuits will deplete the Receivership Estate’s limited
resources. Vigorous litigation against well-resourced defendants makes lawsuits such as these
costly.

          In the interest of conserving the Receivership Estate’s limited resources, my counsel has
agreed to represent the Receivership Estate in these lawsuits on a contingency fee, or success-
based, arrangement. Fishman Haygood, LLP shall advance all costs and out-of-pocket expenses




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and bear the entire risk of any losses. This arrangement is consistent with the Court’s order of
appointment14 and separate order regarding fee arrangement.15

        Of course any fee arrangement is subject to the continuing oversight of the Court—and any
fees paid by the Receivership Estate, whether on an hourly basis or as a contingency fee, are subject
to the Court’s review and approval at an appropriate time. No contingency fee will be paid without
proper notice and application.


Conclusion

        I believe our team is providing excellent value for cost—particularly when viewed in the
context of other receiverships, which at this point cost many multiples more per day.

        The Receivership Estate currently has $11,916,450.58 in the bank before any settlement or
judgment in any of the Receivership Estate’s four biggest lawsuits (see “Contingency fee cases—
hours not billed,” above). Those lawsuits are the Receivership Estate’s most valuable assets.

        The Court entered an order approving a $9,500,000 settlement with Butler Snow on
February 25, 2021. That settlement is now is final, and proceeds from it will make possible a
$17,500,000 first distribution to Madison Timber’s victims.16 The Court will hold a hearing on
the proposed first distribution on May 17, 2021.

        I anticipate that the next few months will require substantial work by counsel, and possibly
experts, as we litigate against third parties. Fishman Haygood, LLP of course advances all costs
and out-of-pocket expenses in any of the four biggest lawsuits, but I nevertheless closely monitor
all work for inefficiencies and unnecessary expense.




14
   Doc. 43 at p. 10, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.) (the
Receiver shall make “a recommendation as to whether litigation against third parties should be commenced on a
contingent fee basis to”).
15
   Doc. 189, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).
16
   Doc. 250, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss.).


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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

 SECURITIES AND EXCHANGE                               No: 3:18-cv-252
 COMMISSION,
                                                       Carlton W. Reeves, District Judge
               Plaintiffs,

        v.

 ARTHUR LAMAR ADAMS AND
 MADISON TIMBER PROPERTIES, LLC,

               Defendants.




                             DECLARATION OF ALYSSON MILLS

       In support of the foregoing fee application for the approximately 60-day period beginning
February 1, 2021 and ending March 31, 2021, I declare:

   1. This application and all fees and expenses described in it are true and accurate.
   2. The fees and expenses were incurred in the best interests of the Receivership Estate.
   3. The fees are based on the rates agreed-upon in advance, which rates are reasonable,
       necessary, and commensurate with the skill and experience required for the work
       performed.
   4. The fees are supported by records for time spent on services rendered, which I have
       separately provided to the Court for in camera review. The records set forth in reasonable
       detail an appropriate narrative description of the services rendered. The description
       includes indications of the participants in, as well as the scope, identification, and purpose
       of the activity that is reasonable under the circumstances.
   5. The fees do not include time spent on the preparation of this application or its supporting
       documentation.
   6. The expenses are supported by receipts or equivalent documents, which I have separately
       provided to the Court for in camera review.



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7. With the exception of professionals I retained with the Court’s prior approval, I have not
   entered into any agreement, written or oral, express or implied, with any person or entity
   concerning the amount of compensation paid or to be paid from the Receivership Estate or
   any sharing thereof.




   DATED: April 30, 2021
                                        Alysson Mills
                                        Receiver




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